                 Case 18-12491-CSS             Doc 2040        Filed 09/08/20   Page 1 of 13



                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :     CHAPTER 11
IN RE:                                                         :
                                                               :     CASE NO. 18-12491 (CSS)
PROMISE HEALTHCARE GROUP, LLC, ET AL :
                                                               :     (JOINTLY ADMINISTERED)
                       1
         DEBTORS                                               :
---------------------------------------------------------------x     RE: DOCKET NO. 1956

                           LOUISIANA DEPARTMENT OF REVENUE’S
                             OBJECTION TO CONFIRMATION OF
                        SECOND AMENDED JOINT PLAN OF LQUIDATION


          The Secretary of the Louisiana Department of Revenue (“LDR”), through undersigned

counsel, objects to the Second Amended Joint plan of Liquidation filed by the Debtors, and in support

of such objections represents as follows:

                                                          1.

          LDR is the holder of twenty claims against various debtors; nine claims are for pre-Petition

Date tax claims and eleven are for Administrative tax claims, aggregating approximately

$1,345,643.88. See Prime Clerk Claims’ registry. However, several administrative claims were

timely filed on September 4, 2020, and are not yet assigned a number by Prime Clerk.

                          RELEASES, EXCULPATIONS, AND INJUNCTIONS

                                                          2.

           LDR objects to the release of the Specified Directors defined as Released Parties at

    Section 110 and 119 in relation to any trust taxes for which they may be jointly liable with the

    Debtors to the LDR. Pursuant to LA. Rev. Stat. 47:1561.1 some or all of these Specified

    Directors are or may be liable for any unpaid trust taxes for the various Debtors in Possession for

    withholding and/or sales taxes owed by the Debtor entities to the LDR. See LDR’s claims filed



1
    See FN 1 of the Second Amended Joint Plan of Liquidation
             Case 18-12491-CSS          Doc 2040      Filed 09/08/20      Page 2 of 13



with the Claims and Noticing Agent.

                                                     3A.

       Article IX of the plan contains provisions calling for releases, injunctions, exculpations,

and limitations of liability which cannot be imposed on the LDR. First, as the IRS objection has

also pointed out, this Court lacks jurisdiction to enjoin the IRS from the assessment or collection

of any tax, 26 U.S.C. § 7421, notwithstanding its otherwise broad equitable powers. In re Becker’s

Motor Trans., Inc., 632 F.2d 242, 246 (3d Cir. 1980), cert. denied, 450 U.S. 916 (1981). Second,

the Court lacks jurisdiction to declare the rights of parties with respect to state taxes outside of a

proceeding under 11 U.S.C. § 505, and no such proceeding has been initiated to cover the

expansive universe of claims encompassed by the various release and exculpation provisions.

Even if such a proceeding had been brought, though, a bankruptcy court may only adjudicate tax

liabilities of a debtor in a § 505 proceeding, and so this Court has no jurisdiction to make

declarations regarding the tax liabilities of the numerous non-debtors covered by the releases and

exculpations. Quattrone Accountants, Inc. v. I.R.S., 895 F.2d 921, 925-926 (3d Cir.
                 Case 18-12491-CSS              Doc 2040        Filed 09/08/20        Page 3 of 13




    1990). Third, a bankruptcy court may only issue a declaratory judgment in a § 505 proceeding

    “[i]n a case of actual controversy…,” 28 U.S.C. § 2201(a), and there is no indication that the

    LDR has as of this date made any attempt to assess or collect any taxes contemplated by the

    release and exculpation provisions.2 See Dycoal, Inc. v. Internal Revenue Service (In re Dycoal,

    Inc.), 05-cv-679, 2006 WL 360642, *9 (W.D. Pa. Feb. 15, 2006). Accordingly, the Court lacks

    jurisdiction to grant the relief sought in the release, injunction, and exculpation provisions as

    against the LDR. The plan is therefore not confirmable pursuant to 11 U.S.C. §1129(a)(1)

    because the Plan violates 11 U.S.C. §524 and 1141 thus should not be confirmed unless it is

    amended to provide no additional relief beyond what the debtors alone are entitled to under 11

    U.S.C. §§ 524 and 1141.

                                                          3B.

           Additionally, this is a Liquidating Chapter 11, not a Plan of Reorganization. Therefore,

    the Debtors cannot meet the criteria set forth in In re Millenium Lab Holdings II, LLC, 945 F.3d

    126 (3d Cir. 2019). Specifically, the Debtors have not and cannot show that the release

    provisions as “integral to the restructuring of the debtor-creditor relationship” or that “the

    releases are fair and necessary to the reorganization” because this is not a debtor-reorganization.

    The Third Circuit urged caution and mandated some exacting standards before third-party

    releases could be permitted.

                                                           4.

           Moreover, the LDR did not receive ballots in time to vote to OPT-OUT of such third party

    releases. Based on information and belief, the Ballots were not served on the LDR at the proper

    address contained on its claims and/or were received in the Bankruptcy Section of the LDR on


2
    However, LDR reserves all right to do so in the future within the time permitted under applicable Louisiana law.
                Case 18-12491-CSS         Doc 2040       Filed 09/08/20    Page 4 of 13




    September 3, 2020. The Ballots were purported to have been mailed out on August 11, 2020,

    21 days before the ballots were due back via mail – with no option for electronic filing of the

    ballots and no option for faxing the ballots, despite the current pandemic. The simple fact that

    the ballots took that long to arrive at the correct address demonstrates that the time period for

    the return of the ballots was insufficient in the current national situation. Also, the state of

    Louisiana experience unprecedented back to back weather events the week of August 21, 2020,

    and the Baton Rouge Offices were closed Monday, August 21, 2020, Wednesday August 23,

    2020 and Thursday, August 24, 2020. Finally, based on information and belief, the LDR was

    not served by U.S. mail at the address on the LDR’s claims, which all contain a request for all

    notices to be mailed to the address on the claim, or otherwise served with the motion to set those

    balloting procedures or the notice of hearing thereon.

                                                    5.

          Accordingly, the LDR should not be held to the requirement of OPT-OUT on those ballots

    based on this objection to confirmation, including, but not limited to, with respect to the

    Specified Directors as Released Parties. In other words, LDR’s objection should substitute for

    and be deemed an OPT-OUT of the third party releases and exculpations.

                                   SETOFF AND RECOUPMENT RIGHTS

                                                         6.

          Confirmation should also be denied because the Plan fails to preserve the statutory setoff

and recoupment rights of the LDR afforded under Louisiana law and the Bankruptcy Code.

Confirmation of a plan does not extinguish setoff claims when they are timely asserted. 3 United



3
 Although LDR is currently unaware of any potential setoffs, its rights must nevertheless must
not be impaired or limited by the Effect of Confirmation of the Plan and/or Discharge. LDR
                  Case 18-12491-CSS              Doc 2040         Filed 09/08/20         Page 5 of 13




States v. Continental Airlines (In re Continental Airlines), 134 F.3d 536, 542 (3d Cir. 1998), cert.

denied, 525 U.S. 929 (1998). Like other creditors, the LDR has the right to setoff mutual debts.

“The government has the same right which belongs to every creditor, to apply the unappropriated

moneys of his debtor, in his hands, in extinguishment of the debts due to him.” United States v.

Munsey Trust Co. of Washington, D.C., 332 U.S. 234, 239 (1947). The IRS has additional statutory

setoff rights, including but not limited to those under La. Rev. Stat. Ann. §47:1622.4 Hence, the

LDR may setoff mutual prepetition debts and claims pursuant to § 553, and generally it also has

the right to setoff mutual post-petition debts and claims. See In re Mohawk Indus., Inc., 82 B.R.

174, 178-179 (Bankr. D. Mass. 1987). The LDR may have valid setoff and recoupment rights if

the debtors choose to bring refund claims for prepetition tax years, and LDR hereby asserts its

intention to exercise those rights in that event. To the extent that the Plan contains provisions

which impair or eliminate the setoff and recoupment rights of LDR, the Plan does not comply with

11 U.S.C. §553 and cannot be confirmed pursuant to 11 U.S.C. §1129(a)(1). For the avoidance of

doubt, confirmation should be denied unless the plan is amended to expressly preserve the LDR’s

setoff and recoupment rights.

                                                11 U.S.C. §1129(a)(9)

                                                             7.

           The Plan fails to provide and treat Administrative Tax Claims and Priority Tax Claims shall

be paid in accordance with 11 U.S.C. §1129(a)(9)(A) and (C), respectively. LDR does not consent

to any lesser treatment of its Administrative Tax Claims or Priority Tax Claims. LDR’s claim is

an impaired claim as it is currently provided for in the Plan, but was not permitted to vote with



does not waive its right and should not lose its right to such an important right afforded it under
the law before such setoff right is discovered and may be asserted.
4
    LDR is also required by law to set off refunds against other asserted liabilities under Louisiana law.
             Case 18-12491-CSS          Doc 2040       Filed 09/08/20    Page 6 of 13




respect to these Administrative Tax Claims and Priority Tax Claims. Accordingly, the Plan is

objectionable pursuant to 11 U.S.C. §1129(a)(1).

                         POSTPETITION INTEREST AND PENALTIES

                                                  8.

        Confirmation should be denied because the plan impermissibly deprives the LDR of

 interest on its prepetition priority claims and any administrative claims and penalties on its

 administrative claims. If the debtors do not pay the LDR’s priority tax claims on the effective

 date, it must pay interest at the applicable non-bankruptcy statutory rate in effect in the month

 of confirmation of the Plan. See 11 U.S.C. §§ 1129(a)(9)(C) and 511. The LDR is entitled to

 post-petition interest on its administrative claims at the rate provided by La. Rev. Stat. Ann.

 47:1601, et seq. United States v. Yellin (In re Weinstein), 272 F.3d 39, 40 (1st Cir. 2001) (noting

 that all other circuit courts to decide the issue had come to the same conclusion); In re Injection

 Molding Co., 95 B.R. 313, 315-316 (Bankr. M.D. Pa. 1989). The LDR is also entitled to

 penalties on any tax claims that are accorded administrative priority.           See 11 U.S.C. §

 503(b)(1)(C). Section V.(H) provides that no interest shall accrue post-petition on any claims

 and that prepetition claims shall not be allowed to the extent they seek post-petition “interest or

 similar charges.” This section violates the IRS’s right to interest and penalties on its prepetition

 priority claims and any administrative tax claims. Accordingly, the Plan cannot be confirmed

 pursuant to 11 U.S.C. §1129(a)(1). For avoidance of doubt, the plan thus should not be

 confirmed unless it is amended to provide for the cure of the aforesaid Plan deficiencies pursuant.

                                                 9.

       The Plan fails to comply with 11 U.S.C. §1129(a)(9)(C) because it fails to state that LDR’s

 priority tax claims will be paid in full not later than five years from the date of the order for
             Case 18-12491-CSS          Doc 2040       Filed 09/08/20      Page 7 of 13




 relief (file date of the petition) and how soon after the claim is allowed distributions must

 commence. Without this information the LDR cannot know when the plan is in default.

                                                 10.

       The Plan also fails to comply with 11 U.S.C. §1129(a)(9)(C) because it fails to provide

 for regular installment payments, in the event Priority Tax Claims cannot be paid in a single

 distribution.

     FAILURE TO COMPLY WITH LOUISIANA LAW AND THE BANKRUPTCY CODE
  AND FAILURE TO REQUIRE THE DEBTORS TO COMPLY WITH LOUISIANA LAW

                                                 11.

   A Debtor in Possession is required to operate the business in accordance with applicable state

laws and the Bankruptcy Code. The Plan does not require the Debtor in possession to comply with

applicable state law for purposes of withdrawal or dissolution and to timely file tax returns with

state taxing authorities. The Plan fails to require the Liquidating Trustee to comply with applicable

Louisiana law.

                                                 12.

   The Debtor in Possession has also failed to comply with Louisiana Law and the Bankruptcy

Code as follows.

   (a) Promise Healthcare, Inc.: The Debtor in Possession was at all times relevant to the claims

       filed with the Claims Noticing Agent on behalf of LDR against it, registered to do business

       and doing business in the state of Louisiana (Charter 355591282F). This Debtor in

       Possession has failed to file the following required tax returns:

           (1) Pre-Petition Date: The Debtor in Possession has failed to comply with Louisiana

                 law by failing to file its Withholding Tax Return for the tax period 9/30/23012 and
        Case 18-12491-CSS              Doc 2040   Filed 09/08/20     Page 8 of 13




           the Louisiana Corporate Tax Return for the tax period 12/31/2017. Withholding

           Tax is a trust tax and the failure to file such returns also imposes personal liability

           on officers pursuant to Louisiana Revised Statutes Ann. §47:1561.1.

       (2) Post-Petition Date: The Debtor has failed to comply with the Bankruptcy Code by

           failing to file its Withholding Tax Returns for the tax periods 6/30/2020 and

           8/31/2020.

(b) Promise Hospital of Ascension, Inc.: The Debtor in Possession was at all times relevant to

   the claims filed with the Claims Noticing Agent on behalf of LDR against it, registered to

   do business and doing business in the state of Louisiana (Charter 36192857F). This debtor

   in possession has failed to file:

       (1) Pre-Petition Date: The Debtor in Possession has failed to comply with Louisiana

           law by failing to file its Sales Tax Returns for the tax periods 12/31/2017 and

           3/31/2018 through and including 9/30/2018. Sales Tax is a trust tax and the failure

           to file such returns also imposes personal liability on officers pursuant to Louisiana

           Revised Statutes Ann. §47:1561.1.

       (2) Post-Petition Date: The Debtor has failed to comply with the Bankruptcy Code by

           failing to file its Louisiana Corporate Tax Return for the tax Period 12/31/2019; its

           Withholding Tax Returns for the filing periods 3/31/2020 through and including

           6/31/2020; and its Sales Tax Returns for the filing periods 12/31/2019 through and

           including 8/31/2020.

(c) Promise Hospital of Baton Rouge, Inc.: The Debtor in Possession was at all times relevant

   to the claims filed with the Claims Noticing Agent on behalf of LDR against it, registered
        Case 18-12491-CSS              Doc 2040   Filed 09/08/20   Page 9 of 13




   to do business and doing business in the state of Louisiana (Charter 35432399D). This

   debtor in possession has failed to file:




       (1) Pre-Petition Date: The Debtor in Possession has failed to comply with Louisiana

           law by failing to file its Withholding Tax Return for the tax period 9/30/2012.

           Withholding Tax is a trust tax and the failure to file such returns also imposes

           personal liability on officers pursuant to Louisiana Revised Statutes Ann.

           §47:1561.1.

       (2) Post-Petition Date: The Debtor has failed to comply with the Bankruptcy Code by

           failing to file its Withholding Tax Returns for the filing periods 3/31/2019 through

           and including 12/31/2019.

(d) Promise Hospital of Gonzales, Inc.: The Debtor in Possession was at all times relevant to

   the claims filed with the Claims Noticing Agent on behalf of LDR against it, registered to

   do business and doing business in the state of Louisiana (Charter 37035049D). This Debtor

   in Possession has failed to file:

       (1) Pre-Petition Date: The Debtor in Possession has failed to comply with Louisiana

           law by failing to file its Louisiana Corporate Tax Return for the tax periods

           12/31/2015 and 12/31/2017.
              Case 18-12491-CSS             Doc 2040        Filed 09/08/20        Page 10 of 13




              (2) Post-Petition Date: The Debtor has failed to comply with the Bankruptcy Code by

                 failing to file its Louisiana Corporate Tax Return for the filing periods 12/31/2018

                 and 12/31/2019.5

              (3) Annual Report with the Louisiana Secretary of State: Based on information and

                 belief, this Debtor in Possession has failed to file an Annual Report with the

                 Louisiana Secretary of State for the periods commencing 4/30/2016 through and

                 include 4/30/2020.        The Louisiana Secretary of State terminated the charter.

                 However, based on information and belief, the Debtor in Possession has continued

                 to operate this business in the state of Louisiana.

    (e) Promise Hospital of Louisiana, Inc. The Debtor in Possession was at all times relevant to

        the claims filed with the Claims Noticing Agent on behalf of LDR against it, registered to

        do business and doing business in the state of Louisiana (Charter 34419021D). This debtor

        in possession has failed to file:

        (1)      Post-Petition Date: The Debtor has failed to comply with the Bankruptcy Code by

                 failing to file its Louisiana Withholding Tax Returns for the filing periods

                 3/31/2020 through and including 8/31/2020.6

    (f) Promise Hospital of Southeast Texas, Inc.: The Debtor in Possession was at all times

        relevant to the claims filed with the Claims Noticing Agent on behalf of LDR against it,

        registered to do business and doing business in the state of Louisiana (Charter 35281929).

        This Debtor in Possession has failed to file:


5
  No extension was requested by or granted to the Debtor in Possession with respect to filing of the 12/31/2019
return. This return and the tax was due by 7/17/2020.
6
  The Louisiana Corporate Return for the filing period 12/31/2019 is due on 12/15/2020 based on the extension
requested and granted prior to 7/17/2020.
             Case 18-12491-CSS             Doc 2040         Filed 09/08/20       Page 11 of 13




             (1) Pre-Petition Date: The Debtor in Possession has failed to comply with Louisiana

                 law by failing to file its Louisiana Corporate Tax Return for the tax

                 periods12/31/2014.

    (g) Promise Hospital of Vicksburg, Inc: The Debtor in Possession was at all times relevant to

        the claims filed with the Claims Noticing Agent on behalf of LDR against it, registered to

        do business and doing business in the state of Louisiana (Charter 35358339D). This Debtor

        in Possession has failed to file:

             (1) Post-Petition Date: The Debtor has failed to comply with the Bankruptcy Code by

                 failing to file its Louisiana Corporate Tax Return for the filing period 12/31/2019.7

                                                      13.

        Based on information and belief, HLP of Shreveport, Inc. has failed to comply with

Louisiana law by failing to register with the Louisiana Secretary of State’s office and has failed to

comply with the Bankruptcy Code by failing to file Louisiana Corporate Return for the filing

period 12/31/2019. The Debtor in Possession was at all times relevant hereto doing business in

the state of Louisiana. The Debtor in Possession filed its Louisiana Corporate Return with the

LDR for the filing period 12/31/2019.

                                                      14.

        LDR objects to the Plan because it fails to require the Liquidating Trustee to comply with

the withdrawal and/or dissolution provisions of Louisiana law upon the Effective Date of the Plan.




7
 No extension was requested by or granted to the Debtor in Possession with respect to filing of the 12/31/2019
return. This return and the tax was due by 7/17/2020.
            Case 18-12491-CSS          Doc 2040       Filed 09/08/20    Page 12 of 13




                                MISCELLANEOUS OBJECTIONS

                                                15.

       LDR objects to the provisions of the Plan which allow the Liquidating Trustee to not pay

claims of less than $50.00 and which allows the estate reclaim uncashed checks after 180 days

without any notice to the claimant. The LDR’s mailing address for trustee payments and the

mailing address for correspondence are one and the same and are included on the LDR’s Proof of

Claim. In the event that a check is uncashed, a minimum of notice to the claimant should be

required so they are on notice that a check was sent but not cashed. This is particularly problematic

when it is unclear on what date a claim will actually be paid by the Liquidating Trustee. The LDR

should not lose its right to payment for a potentially misdirected check or a check that gets lost in

the mail. This is a denial of due process.

                                                16.

       LDR objects to the plan to the extent that the definition of Administrative Claim includes

that Administrative Claims pursuant to 11 U.S.C. §503(b)(1)(B)-(C) are not required to file

requests for payments or claims, but fails to carry over this provision in the appropriate section of

for treatment under the plan.

                                                17.

       Out of an abundance of caution, LDR objects to the Plan provision that provides for

multiple Administrative Claim bar dates being applicable to it because it is not required to file a

claim or request for payment.

                                                18.
           Case 18-12491-CSS         Doc 2040      Filed 09/08/20     Page 13 of 13




       LDR objects to the plan becoming Effective unless or until all outstanding tax returns due

to the LDR are filed by the Debtor in possession and HLP of Shreveport, Inc. and Promise Hospital

of Gonzales, Inc. being brought into compliance with the Louisiana Secretary of State.

        WHEREFORE, the LDR respectfully requests that confirmation be denied.

                                            Respectfully submitted,
                                            LOUISIANA DEPARTMENT OF REVENUE
                                            /s/ Florence Bonaccorso-Saenz
                                            Florence Bonaccorso-Saenz (La. Bar No. 25493)
                                            Admitted Pro Hac Vice by Certification of Counsel
                                            Senior Bankruptcy Counsel, Litigation Division
                                            617 N. Third St., Office 780
                                            Post Office Box 4064 (Zip Code 70821-4064)
                                            Baton Rouge, LA 70802
                                            Tele: (225) 219-2083, Fax: (225) 231-6235
                                            Email: Florence.Saenz@la.gov
